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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WISCONSIN



BAD RIVER BAND OF THE LAKE
SUPERIOR TRIBE OF CHIPPEWA INDIANS
OF THE BAD RIVER RESERVATION

                         Plaintiff,
      v.

ENBRIDGE ENERGY COMPANY, INC., and
ENBRIDGE ENERGY, L.P.                      Case No. 3:19-cv-00602

                         Defendants.



ENBRIDGE ENERGY, L.P.                      Judge William M. Conley
                                           Magistrate Judge Stephen Crocker
                  Counter-Plaintiff,

      v.

BAD RIVER BAND OF THE LAKE
SUPERIOR TRIBE OF CHIPPEWA INDIANS
OF THE BAD RIVER RESERVATION and
NAOMI TILLISON, in her official capacity

                  Counter-Defendants.




                       DEFENDANTS’ MOTION FOR
                     PARTIAL SUMMARY JUDGMENT
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       Defendants respectfully submit this motion for partial summary judgment on Counts 1, 2,

4, and 5 of the Third Amended Complaint. See Fed. R. Civ. P. 56(a). This motion is supported

by the accompanying Brief in Support, the Declarations of Julie Molina and Mark Maxwell, and

the Defendants’ Proposed Findings of Fact.


Dated this 6th day of May, 2022                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on May 6, 2022, I served the foregoing document on all counsel of record

using the Court’s ECF system.

                                                  /s/ Joseph S. Diedrich
                                                  Joseph S. Diedrich




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